Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 1 of 9 PageID #:2117




                              Exhibit A
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 2 of 9 PageID #:2118


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 1 of 8 PageID #:38
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 3 of 9 PageID #:2119


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 2 of 8 PageID #:39
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 4 of 9 PageID #:2120


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 3 of 8 PageID #:40
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 5 of 9 PageID #:2121


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 4 of 8 PageID #:41
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 6 of 9 PageID #:2122


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 5 of 8 PageID #:42
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 7 of 9 PageID #:2123


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 6 of 8 PageID #:43
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 8 of 9 PageID #:2124


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 7 of 8 PageID #:44
Case: 1:12-cv-10338 Document #: 167-2 Filed: 05/02/17 Page 9 of 9 PageID #:2125


      Case: 1:12-cv-10338 Document #: 5-1 Filed: 12/27/12 Page 8 of 8 PageID #:45
